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                          EXHIBIT A
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                                                                                       Bond #:GRCA53188
PROJECT CIP 669 — Public Park Restrooms



                           B. FAITHFUL PERFORMANCE BOND

KNOW ALL PERSONS BY THESE PRESENTS:

THAT WHEREAS, the City of Hermosa Beach, (hereinafter referred to as "City") has awarded to
  AID Builders, Inc.        , (hereinafter referred to as the "Contractor") an agreement for
Contract No. 669     , (hereinafter referred to as the "Project").

WHEREAS, the work to be performed by the Contractor is more particularly set forth in the
Contract Documents for the Project dated        July 22, 2021  , (hereinafter referred to as
"Contract Documents"), the terms and conditions of which are expressly incorporated herein by
reference; and

WHEREAS, the Contractor is required by said Contract Documents to perform the terms thereof
and to furnish a bond for the faithful performance of said Contract Documents.

NOW, THEREFORE, we,              AID Builders, Inc.     ,    the undersigned Contractor and
 Granite Re, Inc. dba Granite Surety Insurance Company as Surety, a corporation organized
and duly authorized to transact business under the laws of the State of California, are held and
firmly bound unto the City in the sum of One Million Seven Hundred Fifty Thousand and 00/100 DOLLARS,
($ 1,750.000.00 ), said sum being not less than one hundred percent (100%) of the total amount
of the Contract, for which amount well and truly to be made, we bind ourselves, our heirs,
executors and administrators, successors and assigns, jointly and severally, firmly by these
presents.

THE CONDITION OF THIS OBLIGATION IS SUCH, that, if the Contractor, his or its heirs,
executors, administrators, successors or assigns, shall in all things stand to and abide by, and well
and truly keep and perform the covenants, conditions and agreements in the Contract Documents
and any alteration thereof made as therein provided, on its part, to be kept and performed at the
time and in the manner therein specified, and in all respects according to their intent and meaning;
and shall faithfully fulfill all obligations including the one (1) year guarantee of all materials and
workmanship; and shall indemnify and save harmless the City, its officials, officers, employees,
and authorized volunteers, as stipulated in said Contract Documents, then this obligation shall
become null and void; otherwise it shall be and remain in full force and effect.

As a part of the obligation secured hereby and in addition to the face amount specified therefore,
there shall be included costs and reasonable expenses and fees including reasonable attorney's
fees, incurred by City in enforcing such obligation.

As a condition precedent to the satisfactory completion of the Contract Documents, unless
otherwise provided for in the Contract Documents, the above obligation shall hold good for a
period of one (1) year after the acceptance of the work by City, during which time if Contractor
shall fail to make full, complete, and satisfactory repair and replacements and totally protect the
City from loss or damage resulting from or caused by defective materials or faulty workmanship.
The obligations of Surety hereunder shall continue so long as any obligation of Contractor remains.
Nothing herein shall limit the City's rights or the Contractor or Surety's obligations under the



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Contract, law or equity, including, but not limited to, California Code of Civil Procedure Section
337.15.

Whenever Contractor shall be, and is declared by the City to be, in default under the Contract
Documents, the Surety shall remedy the default pursuant to the Contract Documents, or shall
promptly, at the City's option:

       i.      Take over and complete the Project in accordance with all terms and conditions in
               the Contract Documents; or

      ii.      Obtain a bid or bids for completing the Project in accordance with all terms and
               conditions in the Contract Documents and upon determination by Surety of the
               lowest responsive and responsible bidder, arrange for a Contract between such
               bidder, the Surety and the City, and make available as work progresses sufficient
               funds to pay the cost of completion of the Project, less the balance of the contract
               price, including other costs and damages for which Surety may be liable. The term
               "balance of the contract price" as used in this paragraph shall mean the total amount
               payable to Contractor by the City under the Contract and any modification thereto,
               less any amount previously paid by the City to the Contractor and any other set offs
               pursuant to the Contract Documents.

     iii.      Permit the City to complete the Project in any manner consistent with California
               law and make available as work progresses sufficient funds to pay the cost of
               completion of the Project, less the balance of the contract price, including other
               costs and damages for which Surety may be liable. The term "balance of the
               contract price" as used in this paragraph shall mean the total amount payable to
               Contractor by the City under the Contract and any modification thereto, less any
               amount previously paid by the City to the Contractor and any other set offs pursuant
               to the Contract Documents.

Surety expressly agrees that the City may reject any contractor or subcontractor which may be
proposed by Surety in fulfillment of its obligations in the event of default by the Contractor.

Surety shall not utilize Contractor in completing the Project nor shall Surety accept a bid from
Contractor for completion of the Project if the City, when declaring the Contractor in default,
notifies Surety of the City's objection to Contractor's further participation in the completion of the
Project.

The Surety, for value received, hereby stipulates and agrees that no change, extension of time,
alteration or addition to the terms of the Contract Documents or to the Project to be performed
thereunder shall in any way affect its obligations on this bond, and it does hereby waive notice of
any such change, extension of time, alteration or addition to the terms of the Contract Documents
or to the Project.

By their signatures hereunder, Surety and Contractor hereby confirm under penalty of perjury that
surety is an admitted surety insurer authorized to do business in the State of California.



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